             Case 21-30427 Document 1308 Filed in TXSB on 12/17/21 Page 1 of 5




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                   )
    In re:                                                         ) Chapter 11
                                                                   )
    SEADRILL LIMITED, et al.,1                                     ) Case No. 21-30427 (DRJ)
                                                                   )
                            Debtors.                               ) (Jointly Administered)
                                                                   )

                STIPULATION AND AGREED ORDER AMONG SFL LINUS LTD
              AND THE DEBTORS RESOLVING THE MOTION OF SFL LINUS LTD
                 FOR ENTRY OF AN ORDER COMPELLING THE REJECTION
                        OF THE PREPETITION LINUS CHARTERS
                         [Relates to Document Nos. 1125, 1233, 1303]

                   SFL Linus Ltd (“SFL Owner”) and the above-captioned debtors (collectively, the

“Debtors” and together with SFL Owner, the “Parties”) hereby enter into this stipulation and

agreed order (this “Stipulation and Agreed Order”):2

                   WHEREAS, on October 22, 2021, SFL Owner filed the Motion of SFL Linus Ltd

for Entry of an Order (I) Compelling the Rejection of the Prepetition Linus Charters in Order to

Commence Transition of Rig Management and to Protect Customer from Operating Disruptions;

(II) Clarifying the Scope of the Stay and Discharge Injunctions; and (III) Granting Related Relief

[Docket No. 1125] (the “Motion to Compel”);

                   WHEREAS, on November 19, 2021, the Debtors filed the Debtors’ Objection to

Motion of SFL Linus Ltd for Entry of an Order (I) Compelling the Rejection of the Prepetition


1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at http://cases.primeclerk.com/SeadrillLimited. The location of Debtor Seadrill Americas,
Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 11025 Equity Drive,
Suite 150, Houston, Texas 77041.
2
 Capitalized terms used but not defined herein have the meaning ascribed to them in the Second Amended Joint
Chapter 11 Plan of Reorganization of Seadrill Limited and its Debtor Affiliates Pursuant to Chapter 11 of the
Bankruptcy Code [Docket No. 1158] (the “Chapter 11 Plan” or “Plan”).



13190289
         Case 21-30427 Document 1308 Filed in TXSB on 12/17/21 Page 2 of 5




Linus Charters in Order to Commence Transition of Rig Management and to Protect Customer

from Operating Disruptions; (II) Clarifying the Scope of the Stay and Discharge Injunctions; and

(III) Granting Related Relief [Docket No. 1233] (the “Debtors’ Objection”);

               WHEREAS, the Parties have engaged in good faith, arms’ length negotiations to

reach a consensual resolution of the Motion to Compel.

               NOW, THEREFORE, in consideration of the foregoing recitals, the Parties

hereby stipulate and agree, and the Court so orders, that:

               1.      The Motion to Compel is hereby withdrawn without prejudice and without

any further action of the Parties.

               2.      The Parties agree that SFL Owner is permitted to have direct discussions

and negotiations (which may be written or oral) with the Customer (as such term is defined in the

Debtors’ Objection) and its representatives and designees.

               3.      The Parties agree to cooperate and negotiate in good faith any terms of the

redelivery of the West Linus to SFL Owner as set forth in the Plan and Cash Collateral Order and

any related terms that may be agreed among the Parties.

               4.      The Debtors are authorized to enter into and perform this Stipulation and

Agreed Order. The Parties are authorized to take all actions necessary to effectuate the relief

granted in this Stipulation and Agreed Order without further notice to or order from the Court,

including entry into a mutually acceptable transition agreement and such other agreements or

understandings as the Parties may deem necessary or appropriate. The automatic stay and

injunctions in sections 362(a) and 1141(d) of the Bankruptcy Code and in the Plan are hereby

modified as necessary to effectuate all of the terms and provisions of this Stipulation and Agreed

Order.

                                                 2
13190289
       Case 21-30427 Document 1308 Filed in TXSB on 12/17/21 Page 3 of 5




               5.      Notwithstanding anything to the contrary contained herein, up to the

Effective Date, (a) the Prepetition Linus Charters may be amended by agreement of the Parties

and assumed by the Debtors in accordance with the terms of the Plan, and (b) if the Prepetition

Linus Charters (as amended) are assumed, then the Parties may agree in writing (which writing

may be by electronic mail) to terminate this Stipulation and Agreed Order without further action

by or notice to the Court.

               6.      This Stipulation and Agreed Order shall be immediately binding and

effective upon its execution by the Parties and it being so-ordered by the Court.




                             [Remainder of page intentionally left blank.]




                                                  3
13190289
       Case 21-30427 Document 1308 Filed in TXSB on 12/17/21 Page 4 of 5




               7.     The Court shall retain jurisdiction to resolve any dispute arising from or

related to the interpretation or enforcement of this Stipulation and Agreed Order.

IT IS SO ORDERED.

Houston, Texas
Signed: December ___________, 2021
                                                    HONORABLE DAVID R. JONES
                                                    UNITED STATES BANKRUPTCY JUDGE


STIPULATED AND AGREED TO ON THIS 17TH DAY OF DECEMBER, 2021

JACKSON WALKER L.L.P.                               KIRKLAND & ELLIS LLP KIRKLAND &
/s/ Matthew D. Cavenaugh                  .         ELLIS INTERNATIONAL LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)          Anup Sathy, P.C. (admitted pro hac vice)
Jennifer F. Wertz (TX Bar No. 24072822)             Ross M. Kwasteniet, P.C. (admitted pro hac vice)
Vienna F. Anaya (TX Bar No. 24091225)               Brad Weiland (admitted pro hac vice)
Victoria Argeroplos (TX Bar No. 24105799)           Spencer Winters (admitted pro hac vice)
1401 McKinney Street, Suite 1900                    Heidi Hockberger (admitted pro hac vice)
Houston, TX 77010                                   300 North LaSalle Street
Telephone: (713) 752-4200                           Chicago, Illinois 60654
Facsimile: (713) 752-4221                           Telephone: (312) 862-2000
Email: mcavenaugh@jw.com                            Facsimile: (312) 862-2200
        jwertz@jw.com                               Email: asathy@kirkland.com
        vanaya@jw.com                                     rkwasteniet@kirkland.com
        vargeroplos@jw.com                                bweiland@kirkland.com
                                                          spencer.winters@kirkland.com
                                                          heidi.hockberger@kirkland.com

Co-Counsel to the Debtors and Debtors in            Co-Counsel to the Debtors and Debtors in
Possession                                          Possession




                                                4
13190289
       Case 21-30427 Document 1308 Filed in TXSB on 12/17/21 Page 5 of 5




 PORTER HEDGES LLP                              PAUL, WEISS, RIFKIND, WHARTON &
 /s/ John F. Higgins                          , GARRISON LLP
 1000 Main Street, 36th Floor                   1285 Avenue of the Americas
 Houston, Texas 77002                           New York, New York 10019
 Tel: (713) 226-6648                            Tel: (212) 373-3000
 John F. Higgins                                Andrew N. Rosenberg
 E-Mail: JHiggins@porterhedges.com              E-mail: arosenberg@paulweiss.com

                                                  - and -

                                                  PAUL, WEISS, RIFKIND, WHARTON &
                                                  GARRISON LLP
                                                  2001 K Street NW
                                                  Washington, D.C. 20006
                                                  Tel: (202) 223-7300
                                                  Claudia R. Tobler
                                                  E-mail: ctobler@paulweiss.com

 Co-Counsel to SFL Corporation Ltd. and its       Co-Counsel to SFL Corporation Ltd. and its
 affiliates                                       affiliates




                                              5
13190289
